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3. MAC. 'DK"['.J'DEF. NUMBER -|,. l)l.*s"l`. l)l{T.-'I]F,F. NUMI\ER 5. AI’PE¢\LS DKT.¢'UEF. NUMBER 6. OTHIER 'I)K'l`. N`Lr'.\l]!F,R
2192-020338-001
T. lN CASE;'MATTER OF (Cnse Naane) 3. I’{\YL[ENT CATF_G()RY 9. TYPE I’ERSON REPRESENTED l[]. tg..l'§{ElSE?J l":\ l.'IUN 'I'YPE
7 7 ee ns nu: lens g“
U.S. v. Wllllams Other Adult Defendant t Supe: visecl élense /.§}G _)
ll. OFFENSE(S) CHARGED (Cite U.S. Cr)tle, 'l`itte & Suetion) it marc than one anense, list (up to live) major offenses eharged. affording m severity orol‘rensc.,_ 7 _ 7
"`¢if j ` *;1
12. AT"I`ORNEY'S NAME (Firs| Name,M.l., |.nst Name. including on_vsnl'|'lxt 13. COURT DRDER _ , . . ,
i\ND MAIL[NG ADDRESS § 0 ;\|lpl)iuling Coun§el m C Co- Conmel ' ;_ 1 .".l ' 13 § : '1 n
jAYARAL/IAN KARIMB UIVIKARA E:\ F Suhs Fnr Fetlel'.ll Defender ‘:I R Suhs For Ret. lim'll. hilltm?m l iii-1 DF!.
SUITE 804 1 m P Suhs ForPaneiAltorney L__] Y Stamlhy Cnun~.\\_|"." _§ 7 7 _».7‘77: _ Tar\# !V[:: 7 71'7 7
147 J'EFFERSON l’rin¢‘ Altorney's Nnme: ' s
MEIV[PHIS TN 38103 *‘»'r ' ‘ Di'"=

 

{:] Bemuse the above-named person represented has leslil'ied nnr|er omit or hot
otherwise satisfied this t:nurt that he or she {1} is l°m:u\t‘inlly unnhle tn employ counsel and
(2) dues nut wish to wnive eounset, and because the interests nfjuslit‘e so requirr. the

Te|ephone Numher:

otlorney whose name appears ln ltem 12 ls appolnted present this person in this t'\se.
14. NAME AND MA!LING ADDRESS OF Lr\\V FlRMlnuly provide per instructions) or
m Umtly;m§ } 411/1491 J

Signmure of Pre§iding Judi¢:iat Ult`lcer or ii_v Order of the (.`ourt

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Dale uf Order Nltm: Pro '{`um: D:\|e
Repnyment or partial repayment entered from the person represented |`or this service al
time ul' nppoinlmenl- m YES m NO

 

 

 

    

 

    

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CATEGDRlES (Ana¢h itemization or services with nmes) CE§H[{,§‘ESD

 

 

 

15. a. Arraignment nnd}or Plea

 

 

b. Bail and Detention Hearings

 

 

c. Motion Henrings
d. Trial

e. Sentencing Hearings

 

 

 

 

 

 

f. Revocation Hearings

 

 

g. Appeals Com't

'-'-1|:::(‘) :t'-'

 

 

 

h. Other (Specil`y on additional sheets)

 

 

{Rate per hour = $ ) TG'TALS.'

 

 

 

o. Interviews and Conferences

 

 

b. Obtaining and reviewing records

 

 

c. Legal research and brief writing

 

 

d. Travel time

 

 

e. Investigative and Other work (spern_»- nn additional storm

 

 

 

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[Rate per hour = $ )""f:‘:?, TOTALS:

 

 

 

 

 

17. Travel Expenses (lodging, pnrking. ments, niilenge, elc.)

 

 

 

 

18. Other Expenses (olher than expert, trnn.scripts, etc.)

 

 

 
    

 

 

 

 

 

19. CERTIF[CATION OF ATI'ORNEY.I'PAYEE FOR [`HE PERIOD OF SERVICE 20. APPOIN'I'ME!\lT TERI\I|'NATION DATE 21. CASE DISPOSITION
IF OTHER THAN CASE COMPL|:"I`|UN
FROM TO
2'.’.. CLAIM STATUS i:[ Finn| l'aymenl [] lou-rim Payment Number [] Supp|emenlal Pn_vment
tlave you previously applied to the court for compensation :imlior remimbursement for this ease? m YES [:] NO ll'ys, were you paid?_-- NO
Otherlhan from the euurt, have you or to your knowledge has anyone else received pnyment (compensntion ur anything or vnlue) from any other source in connection with this '
representation'! \j ¥ES m NO ll' _\es, gi\e details nn additional sheels.

l swear or affirm the truth or correctness of the above stolements.

 

Signnlure ofAttumey'

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

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23. IN COURT COMP. 24. OUT OF COURT C()MP, 25. TRAVEL EXPENSES 26. OTHER EXPENSES 21. TOTAL AMT. APPR.' CERT
28. S[GNATURE OF THE PRESID!NG JUDICIAI. OP`FICER DA'I'E zsn. JtIDGE l .\l,\(;. .tt.\DGI-I CDDE
29. lN COURT COMP. 30. OUT OF COURT COMP. 31. TRAVEL EXPENSES 32. OTHER EXPENSES 3.\. Tt)'t'r\L AM'|`. jtt‘l'ROVED
34. SIGNAT_URE OF CHIEF .]UDGE, COURT OF AP]’EALS (OR DEL GA'I`E) I’nyment DATE J-ln. .]UDGE CUI)E

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With Rule 55 and/Or 32(b) FFlCrF’ On

      
  
  
 

  

  
 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 66 in
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Honorable Samuel Mays
US DISTRICT COURT

